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   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668-PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17
                                                 PLAINTIFFS’ RESPONSE TO NFL
   18   THIS DOCUMENT RELATES TO ALL             DEFENDANTS’ OBJECTIONS TO
        ACTIONS                                  PROPOSED JUDGMENT
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    1            At the conclusion of the trial in this matter, the Court directed Plaintiffs to
    2   prepare a judgment consistent with the jury’s verdict, to which the Defendants did
    3   not object. Trial Tr. 2503:22-23 (“The plaintiffs are directed to prepare a judgment
    4   consistent with the verdict.”). By lodging the proposed form of judgment, Plaintiffs
    5   have endeavored to comply with the Court’s order, noting that their proposed
    6   judgment was being lodged “pursuant to the Court’s instruction on June 27, 2024.”
    7   Dkt. No. 1489 at 1. In addition, Plaintiffs did not request that a separate final
    8   judgment be entered under Federal Rule of Civil Procedure 54(b).
    9            Plaintiffs’ proposed judgment further provides that the Court will retain
   10   continuing jurisdiction to conduct further proceedings, including to decide “what
   11   declaratory, injunctive, or other equitable relief shall be awarded in favor of the
   12   Commercial Class and Residential Class.” Dkt. No. 1489-1 at 4. As a result,
   13   Plaintiffs’ proposed judgment contemplated additional proceedings before this
   14   Court.
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   16   Dated: July 2, 2024
                                                 By:      /s/ Marc M. Seltzer
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